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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

                                                          1:07-CV-900
MSI REGENCY LTD,                        :       Case No. __________________
8139 Beechmont Avenue                   :
Cincinnati, Ohio 45254,                 :               Beckwith
                                                (Judge ________________)
                                        :
             Plaintiff,                 :
                                        :
      vs.                               :       VERIFIED COMPLAINT
                                        :       WITH JURY DEMAND
ALVIN D. JACKSON M.D.,                  :       ENDORSED HEREON
Director of Health                      :
Ohio Department of Health               :
246 North High Street                   :
P.O. Box 118                            :
Columbus, Ohio 43216-0118               :
                                        :
      and                               :
                                        :
J. NICK BAIRD M.D.                      :
Former Director of Health               :
Ohio Department of Health               :
246 North High Street                   :
P.O. Box 118                            :
Columbus, Ohio 43216-0118               :
                                        :
      and                               :
                                        :
CHRISTINE A. KENNEY                     :
Ohio Department of Health               :
246 North High Street                   :
P.O. Box 118                            :
Columbus, Ohio 43216-0118               :
                                        :
      and                               :
                                        :
JODI GOVERN                             :
Ohio Department of Health               :
246 North High Street                   :
P.O. Box 118                            :
Columbus, Ohio 43216-0118               :
                                        :
      and                               :
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                                           :
MARTIN L. KING                             :
2049 Decker Court                          :
Columbus, Ohio 43235-2046                  :
                                           :
      and                                  :
                                           :
JOHN A. HOFFMAN                            :
1020 Mueller Drive, #A                     :
Reynoldsburg, Ohio 43068-9106              :
                                           :
      and                                  :
                                           :
JOEL KAISER                                :
Ohio Department of Health                  :
246 North High Street                      :
P.O. Box 118                               :
Columbus, Ohio 43216-0118                  :
                                           :
      and                                  :
                                           :
MADELYN DILE                               :
Ohio Department of Health                  :
246 North High Street                      :
P.O. Box 118                               :
Columbus, Ohio 43216-0118                  :
                                           :
      and                                  :
                                           :
REBECCA MAUST                              :
Ohio Department of Health                  :
246 North High Street                      :
P.O. Box 118                               :
Columbus, Ohio 43216-0118                  :
                                           :
      and                                  :
                                           :
CAROL RAY                                  :
Ohio Department of Health                  :
246 North High Street                      :
P.O. Box 118                               :
Columbus, Ohio 43216-0118                  :
                                           :
             Defendants.                   :




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                                 PARTIES AND JURISDICTION

        1.      Plaintiff, MSI REGENCY Ltd. (“Regency”), is a limited liability company

organized under the laws of the State of Ohio, with its offices located in Cincinnati, Ohio. Akiva

Wagschal is the managing member of Regency.

        2.      Defendant, Alvin D. Jackson, M.D., is the current Director of the Ohio

Department of Health (“ODH”), and is sued in his official capacity, and only in connection with

plaintiff’s request for equitable relief.

        3.      Defendant, J. Nick Baird, M.D. was the Director of ODH at all times pertinent to

this complaint, in whose name ODH imposed a series of administrative actions against plaintiff

that are the subject of this lawsuit. He is being sued personally for his misconduct under color of

law.


        4.      Administratively ODH is divided into several divisions, and one of these

Divisions is the Division of Quality Assurance. The Bureau of Diagnostic Safety and Personnel

Certification is a part of the Division of Quality Assurance, and one of the sections within this

Bureau is the Certificate of Need (“CON”) Section.

        5.      Defendant, Christine Kenney, was at all times pertinent hereto the Chief of the

CON Section. She is sued personally for her misconduct under color of law.

        6.      Defendant, Jodi Govern, was at some times pertinent hereto the Chief of the

Bureau of Diagnostic Safety and Personnel Certification and she is sued personally for her

misconduct under color of law.

        7.      Defendant, Martin L. King, was at some times pertinent hereto the Chief of the

Bureau of Diagnostic Safety and Personnel Certification, before Jodi Govern, and he is sued

personally for his misconduct under color of law.



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        8.      Defendant, Carol Ray, was at all times pertinent hereto the Assistant Counsel to

the Director of ODH and she is sued personally for her misconduct under color of law.

        9.      Defendant, Rebecca Maust, was at all times pertinent hereto Chief of the Division

of Quality Assurance. She is sued personally for her misconduct under color of law.

        10.     Defendant, Madelyn Dile, was at all times pertinent hereto Assistant Chief of the

Division of Quality Assurance. She is sued personally for her misconduct under color of law.

        11.     Defendant, John A. Hoffman, was at all times pertinent hereto the Senior Health

Care Analyst in the CON Section, and is sued personally for his misconduct under color of law.

        12.     Defendant, Joel Kaiser, was at all times pertinent hereto the Policy Analyst in the

CON Section, and is sued personally for his misconduct under color of law.

        13.     This court has jurisdiction over this action under 28 U.S.C Sections 1331 and

1343(3) in that plaintiff’s claims arise under the Fifth and Fourteenth Amendments of the

Constitution of the United States and under the Civil Rights Act of 1871, 42 U.S.C. Section

1983. Venue is proper in this court pursuant to 28 U.S.C. Section 1391(b)(2) since a substantial

part of the events giving rise to the claim occurred in the district, and the property that is the

subject of this action is situated in the district.

        14.     This court has pendant jurisdiction over this action under 28 U.S.C Sections

1337(a).

        15.     This is an action for prospective injunctive relief against the current Director of

ODH and to stop the ongoing violation of plaintiff’s constitutional rights through continuing

illegal state action by ODH.

        16.     This is also an action against all defendants except the current Director of ODH,

Alvin D. Jackson, M.D., to redress the deprivation by these defendants of plaintiff’s rights,




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privileges and immunities secured under the Fifth and Fourteenth Amendments of the

Constitution of the United States and under the Civil Rights Act of 1871, 42 U.S.C. Section

1983, said deprivations being at all times under color of state law in derogation of plaintiff’s

rights.

                                             FACTS

A.        Regency’s Plans to Renovate and Replace its Nursing Home Building

          17.   On October 1, 2002 Regency purchased a healthcare complex from the debtor in

possession through a Bankruptcy proceeding for $4,200,000.00.

          18.   The healthcare complex is a 12 acre property located at 6550 Hamilton Avenue,

North College Hill, Ohio, 45224 upon which was located a retirement community comprised of a

100-bed nursing home, 100 independent living units, 104 assisted living beds located in three

separate buildings.

          19.   The healthcare complex buildings were built in the 1960s and 1970s. It did not

meet current building codes and fire codes. Because it was older than other healthcare facilities

it was significantly more difficult to attract residents. This is the primary reason why the

complex was under-occupied and operated at a loss.

          20.   Regency purchased the healthcare complex with a plan and intention of

converting it into a profitable operation. It planned to eliminate the independent living units and

to renovate and to modernize the complex to a “state of the art” 100-bed nursing home facility

and an assisted living facility.

          21.   In 2003, Regency retained an architect and selected a general contractor to

prepare architectural and engineering drawings for the project and developed a construction

budget.




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       22.     In July 2004, Regency set out to obtain financing for the renovation project.

       23.     In March 2005, Regency retained Greystone Servicing Corporation to prepare and

file an application for a loan guarantee with the Department of Housing and Urban Development

(“HUD”). In furtherance of this goal Regency authorized an appraisal of the property, a Phase I

environmental study, an Asbestos study, soil borings, and engaged a consultant approved by

HUD for architectural, engineering and construction plan review.

       24.     Regency planned to execute the renovation project in two phases.                The

construction of the new nursing home was to be the first phase and the construction of the new

assisted living facility was to be the second phase. Under this approach, during the first phase

the independent living building was to be demolished and the new nursing home building was to

be erected in that location. Upon completion of the new nursing home building the residents

from the old nursing home building and the assisted living buildings would move into the new

nursing home building. In the second phase, the old nursing home and assisted living buildings

would be demolished and the new assisted living building would be erected at that location.

Upon its completion, the assisted living residents would move from the new nursing home

building to the new assisted living facility.

B.     The CON Application

       25.     As the construction plans were progressing, in June 2005 Regency prepared and

submitted to ODH an application for a CON for that part of the renovation project that involved

the so-called “replacement” of the 100 nursing home beds. ODH had no jurisdiction over the

assisted living part of the renovation project. Therefore, the application did not mention the fact

that the project would be in phases. However, in response to an item in its CON application




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submittal, Regency stated that the residents “will remain where they are until the renovation is

completed.” Defendants’ misconduct will turn on their attitude to this statement.

       26.     In its CON application Regency described the nursing home part of the project for

which it sought approval as: “Replacement of 100 Long Term Care beds into new construction

on the same campus due to facility and code deficiencies in the existing structure” Regency did

not seek ODH approval for its plan of care for its current residents during the construction of the

nursing home. The plan of care for residents in a nursing home is not subject to a CON review.

       27.     On August 4, 2005 ODH declared Regency’s CON application to be complete

and issued a Notice of Completeness.” Thereafter, on August 9, 2005, Regency gave a public

notice of its proposed project and of its pending CON application for the project in a timely

manner, as required by law, by publishing the notice in the local newspaper. The notice invited

any affected person to submit a written objection to Regency’s CON application within thirty

days of the date of the Notice of Completeness. R.C. 3702.52(C).

       28.     ODH received no written objections to Regency’s CON application. Therefore,

in accordance with R.C. 3702.52(C)(1), the Director was required to “grant a certificate of need

for the entire project that is the subject of the application immediately … [if] [t]he director

receives no written objections to the application from any affected person … thirty days after the

director mails the notice of completeness.” (Emphasis added). Therefore, in this case, the

Director was required to approve Regency’s CON application on or about September 3, 2005.

       29.     The Director violated this mandatory requirement and delayed issuing Regency’s

CON by 60 days. The CON was issued on November 1, 2005. Exhibit “A.”




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C.     The Financing Problem and Regency’s Decision

       30.     On December 1, 2005 at a pre-loan application meeting with HUD in Columbus,

Regency was advised, for the first time, that its plan to build its project in two phases was

unacceptable, due to the length of time of the phased construction. However, HUD was prepared

to consider Regency’s loan application as it was presented, if Regency were to erect the two

buildings concurrently.

       31.     Regency was faced with the following exigent circumstances in considering

HUD’s proposal:

               (a)    Regency did not have a viable alternative source of construction financing;
               (b)    Regency was committed to complete the construction of the nursing home
                      in 10 months of the CON approval;
               (c)    To meet this deadline it was imperative that the forthcoming winter
                      months be used to plan the project and to purchase all the materials and
                      furnishings that the project would require;

Had ODH approved Regency’s CON sixty days earlier, the exigency created by the onset of

winter might have been less.

       32.     Regency decided to proceed with the loan application as it was presented and

committed to construct the two buildings to occur concurrently.

       33.     A consequence of Regency’s decision to consolidate the project into a single

phase was that the nursing home operation and the assisted living operation would have to be

discontinued for the duration of the construction project, and the residents would have to be

temporarily accommodated at other appropriate facilities of their liking.

D.     Regency’s Closing of the Nursing Home and the Relocation of its Residents

       34.     The closure of a nursing home in Ohio requires the facility to provide a 90-day

advance notice of the closure to the current residents, the Department of Health, Department of

Jobs and Family Services and the local nursing home ombudsman organization.



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       35.     On December 15, 2005 Regency was providing nursing facility services to 42

residents. 13 of the 42 residents were mentally alert and able to make decisions themselves. The

other 29 residents were cognitively impaired. Two of them had court appointed guardians and

27 of them had a family member acting as their responsible parties who made decisions for them.

       36.     On December 15, 2005 Regency staff met with the mentally alert residents and

informed them of the change in construction plans for rebuilding the facilities and advised them

that the facility would have to temporarily close for the duration of the construction and they

would need to be temporarily housed and cared for in other facilities of their choice, and offered

them relocation assistance.

       37.     On December 15, 2005 the Regency staff gave each resident the required 90- Day

Notice of Closure and mailed the required notices with an offer of relocation assistance to each

resident’s responsible party of record.

       38.     On December 15, 2005 Regency also mailed the required 90-Day notice to the

Department of Health, Department of Jobs and Family Services and the local nursing home

ombudsman organization. Exhibit “B.”

       39.     During the period between December 17, 2005 and December 27, 2005

Regency’s staff successfully communicated verbally, with the responsible parties of 22 of the 29

cognitively impaired residents.

       40.     During that period of time Regency’s staff was unsuccessful in reaching 7 of the

29 cognitively impaired resident’s responsible parties.

       41.     By December 27, 2005, 32 of the residents or their responsible parties accepted

Regency’s relocation assistance and either left the facility for temporary accommodations

elsewhere or planned to do so at their convenience.




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          42.   On December 27, 2005, when Regency had received no response from the

responsible parties of the 7 remaining cognitively impaired residents to its 90-day notice,

Regency’s staff invoked an alternate resident relocation procedure and issued an additional

notice.    The additional notice was an official “30-day notice of proposed discharge from

facility”. Exhibit “C.”

          43.   The notice of proposed discharge included the address and telephone number of

the legal counsel of the Ohio Department of Health and the name and address of the local

ombudsman, so that the resident or responsible party could request a hearing to appeal the

discharge. R.C. 3721.16(A)(1).

E.        ODH Initial Reaction to Regency’s Closing and Relocation of its Residents and
          Regency’s Response

          44.   On January 6, 2006, defendant Kenney, Chief of the CON program of ODH,

wrote a letter to Regency and expressed concerns that the facility’s closure and resident

relocation may be a violation of its CON grant and appeared to invite response. Exhibit “D.”

          45.   Had the January 6 letter specifically ordered Regency to cease and desist from

continuing with the closure of the facility and to invite the relocated residents to return, Regency

could have done so to safeguard its CON.

          46.   On January 10, 2006, Wagschal drafted a written response on Regency’s behalf

and reviewed it with John Hoffman from the CON program.                 Hoffman suggested some

additional language, which Wagschal incorporated into the response.              Hoffman advised

Wagschal to distribute the response to a long list of people including the ODH legal counsel,

Carol Ray.

          47.   On January 11, 2006 Wagschal spoke with Carol Ray. She told him that she was

unaware of Kenney’s January 6, 2006 letter and that, generally, letters threatening the status of a



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CON are reviewed by the legal counsel. She further told Wagschal that the concerns that

Kenney expressed in her January 6 letter were unprecedented and suggested to Wagschal to send

his response only to Kenney. Wagschal followed Ray’s advice.

       48.     On January 11, 2006 Regency faxed its response to Kenney’s January 6 letter to

ODH and emailed copies of all the notices in regard to the closure to Carol Ray. Exhibit “E.”

       49.     Hearing nothing from ODH, Regency continued to help its residents relocate until

January 25, 2006 when no residents were left in the facility. At that time the facility was deemed

closed, and Regency issued the required notice to this effect. Exhibit “F.”

       50.     On February 2, 2006 Kenney sent Regency a routine follow up letter requesting

design drawings for the project. This encouraged Regency to believe that ODH found its

response to be satisfactory and that it can continue with the project.        Kaiser drafted this

document for Kenney. Exhibit “G.”

       51.     The renovation project was thus progressing satisfactorily until February 23, 2006

when ODH initiated its administrative action against Regency.

F.     ODH Administrative Action Against Regency

       52.     On February 23, 2006 the Director issued a Reviewability Ruling in which he

concluded that Regency’s closing of the nursing facility and temporarily relocating the residents

was a reviewable activity. Kenney drafted this document for the Director. Exhibit “H.”

       53.     On March 6, 2006 the Director imposed an administrative sanction against

Regency by levying a $207,000 Civil Penalty and an additional sanction of denying Regency and

certain individuals associated with Regency the opportunity of submitting other CON

applications for a period of three years. These sanctions were based upon, and justified by the

Director’s Reviewability Ruling. Kenney drafted this document for the Director. Exhibit “I.”




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        54.     On March 6, 2006 the Director gave notice of his intention to impose an

additional administrative sanction against Regency by issuing a Proposal to Withdraw CON

Approval, based upon, and justified by his Reviewability Ruling. Kenney drafted this document

for the Director. Exhibit “J.”

        55.     On May 15, 2006 the Director withdrew from Regency the CON approval.

Kaiser drafted this document for the Director. Exhibit “K.”

G.      Revised Code Chapter 119 Administrative Appeal Process

        56.     Regency administratively appealed each of the Director’s rulings: Reviewability,

Civil Penalty and Withdrawal of CON.

        57.     The three appeals were consolidated, and proceeded to an evidentiary hearing

before a Hearing Examiner on December 13-14, 2006 and concluded on May 29-30, 2007.

        58.     At the conclusion of the hearing the Hearing Examiner established a briefing

schedule for Post-Hearing Briefs. The last brief in this schedule is due on or before November 9,

2007. The Hearing Examiner expects to publish his recommendation to the Director 30 days

after November 9.

        59.     Within ten days any party may submit objections to the Hearing Examiner’s

Report “which … shall be considered by the agency before approving, modifying, or

disapproving the recommendation.” R.C. 119.09. There is no set time within which ODH must

issue its final ruling.

        60.     Thirty days after the date the Director’s adjudication order is mailed an appeal

may be filed in the Tenth District of the Ohio Court of Appeals. R.C. 3702.60(F).




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H.     Adverse Effect of Delays in Pending State Administrative Process

       61.     Before February 23, 2006, when the Director issued his Reviewability Ruling and

later imposed the Civil Penalty and proposed to withdraw Regency’s CON, Regency was ready,

willing and able to commence the construction of its new nursing home on the Regency property.

       62.     Since then Regency has been unable to proceed with the construction of its new

nursing home, due to the uncertainty created by the Director’s letters and orders.        This

uncertainty will not be completely resolved until the appellate process is concluded.

       63.     In addition to the uncertainty factor, since May 15, 2006 Regency has also been

unable to construct its nursing home because ODH actually withdrew Regency’s CON.

       64.     As the holder of a CON Regency is required to begin construction of the new

nursing home within two years of the date of issuance of the CON. Otherwise the CON expires

by operation of law in accordance with R.C. 3702.525(A).

       65.     On information and belief it is alleged that ODH intends to apply R.C.

3702.525(A) to Regency’s CON and deem it to expire as of November 1, 2007 even though the

validity of the Director’s rulings with regard to the Regency’s CON are pending the conclusion

of the appeal process.

I.     Injunctive Relief

       66.     Unless this court intervenes and orders ODH to maintain the status quo as of

February 23, 2006, Regency’s CON will expire on November 1, 2007 and will result in

irreparable harm to Regency for which there is no adequate remedy at law.

       67.     There is a substantial likelihood that Regency will prevail on the merits in the

appellate process. However, it is also likely that this will happen after November 1, 2007, and

by then the CON will have expired by operation of law.




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       68.     Even if Regency prevails on the merits, once its CON expires Regency will be

unable to reapply for a CON for the same project. To be eligible to submit a CON application a

facility must actively provide nursing care within twelve months before it submits its application.

Since Regency closed its facility on January 25, 2006 in furtherance of its current CON, it lost its

eligibility to refile on January 25, 2007.

       69.     In awarding Regency its CON on November 1, 2005 ODH certified that there is a

need for the proposed 100-bed nursing home in the North College Hill community. That need

still exists. However, unless the court intervenes and preserves the validity of Regency’s current

CON pending the outcome of the state appeal process, that need will remain unmet.

       70.     Regency has no adequate remedy at law. Unless the court intervenes Regency

can prevail in the state appeal process but, nevertheless, still be unable to construct and operate

the nursing home, because its current CON will have expired and it is ineligible to reapply for

another CON. As a result, Regency’s corporate identity and reputation as a nursing home

builder and operator will be damaged. This will adversely affect its ability to “build on its prior

successes” when it applies for other CONs, and whenever it seeks to finance other healthcare

projects, among other things.

       71.     Regency has no adequate remedy at law in damage against the State of Ohio.

United State Constitution, Eleventh Amendment.

       72.     The issuance of a preliminary injunction will not cause substantial harm to any

third parties, because it will only prevent Regency’s CON from expiring by operation of law.

       73.     The public interest would be served by the issuance of a preliminary injunction

because it will enable Regency to build the modern nursing home that is needed in North College

Hill if Regency prevails on the merits in the state appeal.




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J.     The Misconduct of the Individual Defendants

       74.     In executing their administrative duties in ODH each individual defendant

misconducted himself or herself under color of law in, at least, the following way:

               (a)    Kenney, abused her position as Chief of the CON Section by:

                      1.      Irrevocably concluding that Regency violated its CON on or about
                              January 5 or 6, 2006, without regard to the responses that Regency
                              may have.
                      2.      Relied on false or, at best, erroneous factual information, regarding
                              Regency’s closure of the facility and the relocation of its residents,
                              and failed to investigate the facts that were readily available to her
                              in ODH files.
                      3.      Provided false factual information to others at ODH, including the
                              Director, intending that they impose the harshest administrative
                              sanctions against Regency, which ODH did.
                      4.      Misused her “expertise” by purposely misapplying and
                              misinterpreting the CON rules and regulations in a manner that
                              ODH had not previously done.
                      5.      Provided Regency no real opportunity to correct its infraction.
                              Kenney’s January 6 letter to Regency did not order Regency to
                              stop the closing of the facility and, although it appeared to invite a
                              written response, it actually did not.
                      6.      Between January 6 and February 23, 2006 misled Regency to
                              believe that its response to the January 6 letter was acceptable and
                              that it may continue to construct the new nursing home.

               (b)    Hoffman, abused his position as Senior Health Care Analyst in the CON
                      Section by conspiring with Kenney in misapplying and misinterpreting the
                      CON rules and regulations.

               (c)    Kaiser abused his position as Policy Analyst in the CON Section by
                      conspiring with Kenney in misapplying and misinterpreting the CON rules
                      and regulations.

               (d)    King, on information and belief that he was Chief of the Bureau of
                      Diagnostic Safety and Personnel Certification when ODH decided to
                      administratively sanction Regency, abused his position by failing to
                      supervise and investigate the inappropriate decisions and incorrect
                      interpretations of member of the CON Section.

               (e)    Govern, on information and belief that she was Chief of the Bureau of
                      Diagnostic Safety and Personnel Certification when ODH determined to
                      Regency is to be administratively sanctioned, abused her position by



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                        failing to supervise and investigate the inappropriate decisions and
                        incorrect interpretations of member of the CON Section.

                 (f)    Ray, as the Assistant Counsel to the Director of ODH, abused her position
                        by approving the Reviewability Ruling and all the sanctions that were
                        based on this Ruling, without investigating the accuracy of the facts that
                        formed the basis of the Ruling and by conspiring with Kenney in
                        misapplying and misinterpreting the CON rules and regulations.

                 (g)    Maust, as Chief of the Division of Quality Assurance, abused her position
                        by failing to supervise or investigate the conduct of the staff in the CON
                        Section, but rather “rubber-stamped” the letters that were prepared for the
                        Director to sign, and implicitly assured the Director that the letters were
                        appropriate for his official signature.

                 (h)    Dile, as Assistant Chief of the Division of Quality Assurance, on
                        information and belief, was a part of the decision making process in this
                        case, but failed to provide appropriate supervision and oversight to the
                        activities of the CON Section.

                 (i)    Baird, as Director of ODH, failed to supervise and oversee the activities
                        of the CON Section. He abdicated his responsibility and entrusted them to
                        others, such as Kenney, King, Ray, Maust and Dile, without personally
                        insuring that actions that were recommended to him were based on
                        accurate facts and correct application and interpretation of the CON rules
                        and regulations.

       75.       From June 2005 through February 2006, Regency planned the renovation of its

nursing home with full knowledge and encouragement of the Department. Regency reasonably

relied on the fact that its CON would remain valid as long as Regency did not change the project

site, that it would not incur cost overruns greater than 10%, and Regency would “obligate” the

project within 2 years (i.e., that it would obtain construction financing and begin actual

construction).

       76.       In reliance on this fact, Regency did all the following, all to its detriment:

                 (a)    Retained the services of architects and other engineers and designers,

                        thereby incurring professional fees;




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               (b)    Retained the services of attorneys and accountants to prosecute the CON

                      application, thereby incurring professional fees;

               (c)    Retained financial experts and appraisers to assist with obtaining financing

                      for the project, thereby incurring professional fees;

               (d)    Shut down its existing nursing home for more than one year, thereby

                      irretrievably losing the right to reopen it.

K.     Damages

       77.     Because the existing Regency Nursing Home has been closed for more than 12

months, it cannot be reopened. The actions taken by the Department have reduced the value of

the Regency property to that of vacant land.

       78.     The estimated time of construction for the replacement facility was ten months.

       79.     It was anticipated that the new facility would attract residents and that the facility

would operate at nearly 100% occupancy before the end of the first year of operation.

       80.     With the facility operating at near full occupancy, it was projected that the facility

would generate an annual net operating income of $2,500,000.

       81.     The useful life of the replacement facility as an operation that can maintain near

full occupancy and produce the above-mentioned net operating income (adjusted for inflation) is

40 years.

       82.     The anticipated fair market value of the renovated facility was $18,500,000.

       83.     The amount of money that Regency has invested in the purchase and maintenance

of the facility as a licensed SNF in order to start development project including the nursing home

part thereof is perhaps greater than $12,500,000.00.




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                                             COUNT I

       84.       Plaintiff hereby re alleges and incorporates by reference the factual allegations of

paragraphs 1 through 83 of the complaint as if set out in full.

       85.       Acting under color of state law, defendants engaged in a series of actions

culminating in the letter of May 15, 2006, withdrawing the CON which rendered plaintiff’s

property nearly valueless, all in violation of 42 U.S.C. Section 1983.

       86.       By engaging in the course of conduct described in this complaint, defendants

conspired to deprive plaintiff of its ability to use, develop, operate and profit from the nursing

home. Accordingly, plaintiff is entitled to recover damages caused by defendants’ misconduct.

       87.       The action of the defendants described in this complaint constitutes an unlawful

taking of property in violation of the Fifth and Fourteenth amendments of the Constitution of the

United States.

       88.       The action of the defendants described in this complaint constitutes an unlawful

denial of equal protection as guaranteed by the Fourteenth amendments of the Constitution of the

United States.

       89.       The action of the defendants described in this complaint constitutes denial of due

process and just compensation in violation of the Fifth and Fourteenth amendments of the

Constitution of the United States.

       90.       The action of the defendants described in this complaint constitutes a violation of

Section 16, Article I of the Ohio Constitution, prohibiting the taking of property without due

course of law.

       91.       The defendants’ conduct was purposeful, knowing and reckless, and was

calculated to deprive Regency of its ability to use, develop and profit from its nursing home. As




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a result, defendants are liable to Regency for all compensatory damages caused by such

misconduct, and for punitive damages.

                                            COUNT II

       92.     Plaintiff hereby realleges and incorporates by reference the factual allegations of

paragraphs 1 through 91 of the complaint as if set out in full.

       93.     The withdrawal of Regency’s CON and the imposition of the Civil Penalty were

premature because they were based upon the Director’s Reviewability Ruling, from which

Regency appealed, and the appeal was then pending.

       94.     The premature imposition of these administrative sanctions against Regency

constitutes an administrative taking of plaintiff’s property.

       95.     Defendants have failed to pay Regency the reasonable value of the property taken.

                                            COUNT III

       96.     Plaintiff hereby realleges and incorporates by reference the factual allegations of

paragraphs 1 through 95 of the complaint as if set out in full.

       97.     Plaintiff is entitled to a preliminary injunction to prevent ODH from declaring

Regency CON to have expired on November 1, 2007 by applying R.C. 3702.525(A).

       WHEREFORE, plaintiff, MSI REGENCY LTD., prays for the following relief:

       1.         For a temporary restraining order prohibiting Alvin D. Jackson, M.D., Director
                  of the Ohio Department of Health, or his successors, his agents or any persons
                  acting in concert with him, from terminating Regency’s CON by operation of
                  R.C. 3702.525(A) until a hearing is had on plaintiff’s application for a
                  preliminary injunction.

       2.         For a preliminary injunction enjoining Alvin D. Jackson, M.D., Director of the
                  Ohio Department of Health, or his successors, his agents or any persons acting
                  in concert with him, from terminating Regency’s CON by operation of R.C.
                  3702.525(A) during the pendency of this action.




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       3.           On a final hearing, for an order permanently enjoining Alvin D. Jackson, M.D.,
                    Director of the Ohio Department of Health, or his successors, his agents or any
                    persons acting in concert with him, from terminating Regency’s CON by
                    operation of R.C. 3702.525(A) during the pendency of the state appellate and
                    judicial process.

       4.           For money damages against all defendants, except Jackson, jointly and
                    severally, as follows:

              (a)        For compensatory damages in the amount of, at least, $12,500,000.

              (b)        For punitive damages.

              (c)        For attorney’s fees in the amount to be proven at trial.

       5.           For costs of this action.

       6.           For such other and further relief to which plaintiff may be entitled.


                                                        /s/ Simon Groner
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                                                JURY DEMAND

       Now comes plaintiff and hereby demands a trial by jury on all matters in the above-

captioned matter.

                                                        /s/ Simon Groner
                                                        Simon Groner (0032116)
                                                        Attorney for Plaintiff




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